Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 1 of 28




                                                 Exhibit 3(d): Baxter


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                    Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 2 of 28
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                                                     SHEET METAL WOltKERSt NATIONAL HEALTH FUND
                                                                       P.O. ;Bo.x 1449
                                                               Goodlettsville, 1N 37070-1449     .
    Claim No.2521211                                   Phone (6]5) &59-0131 Toll-free (800) 83 l;4914 . . Check No. 1066636

                                                        ,      Explanation          of Benefits                8:MW.J.Proaram




                          03/3]/2004        0313112004             $893..00     $0.00        . $61.71          $61.71      $61.71.




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.        BERKSHIRE HEMATOLOGY                               ONeOl
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                                                                           ~         Southern Benefit
                                                            Processed   by' ~        Administrators, Inc.

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                      Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 3 of 28



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                              MAR. 9. 2005                                 4:45fM                             NY ONe! HEM                                                                                                                                    NO. 7919                       p, 2
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                      Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 6 of 28



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              IW47              0331 0:UI04 11                1 84~50                      31.00                0.00        0_00      0.00 to-18            91.00           0.00
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              122241           0421 042104 11                ~o Jl100                      20.00                2.00        0.00     ,0,40 CO-42            18.00        1.50
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              12i!2:41         Oq21 042104         11         1 83735                      27.00               9.36         0.00     0.00    CD-4Z         17.64             9.35
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~ARVEV ZIMBLER, M.B. 8 CONTE DRIVE                                                                                                                                              NEWARK NJ 07191-8612
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              Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 15 of 28
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               AR. g. 2005'        4 :45PM            . NY ONC/ HEM                                                                            NO. 7919          P. I

                Business Office
                5 Old Roule 146 .
                Clifton Park, New York           12065
                Phone: 516-313-3945
                Fax: 51B-373-3809

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                                                                                     From:       stephanie Stevens

              Fmc"       615-859-0818                                                Date:        03109/2005

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                   Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 16 of 28
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                                          SHEET METAL WORKERS' NATIONAL HEALTH FUND
                                                             P.o. Box 1449
                                                    Goodlettsville, TN 37070-1449
      Claim No.2826930                      Phone (615) B59-0131 Toll-free (800) 83I -4914                             Check No. 1356947
                                                     Explanation of Benefits                            SMW+ PrOQram




                   04/0112004       04/0112004       $7,162.00.        $0.00                $5.33        $5.33           $5.33
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      Comments:
      PAYMENT ADJUSTMENT MADE FOR PREVIOU SLY PROCESS'ED CLAIMS.




                                                                           Provider:                    BERKSHIREHEMATOLOGYONCOlO
                                                                           Participant SSN:
                                                                           BJK Claim Number: 2826930
           BERKSHIRE HEMATOLOGY ONCOL
           POB 18612
           NEWARK, NJ 07191

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                 Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 17 of 28
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                                      SHEET METAL WORKERS' NATIONAL HEALTH FUND
                                                         P_O. Box 1449
I                                                Goodlettsville, TN 37070-1449
.~   Claim No.2826931                   Phone (615) 859-013] Toll-free (800) 831-4914                  Check No. 1356948
                                                Expl~nation ot'Benefits                       SMW+ PrOQram




                 04/21/2004      04/21/4004     $1,244.00        $0.00          $33.30        $33.30    $33.30




     Commenls:
     PAYM.ENT ADJUSTMENT               MAD.E FOR PREVIO!) SLY PROCESSED                      CLAIMS.




                                                                        ProvIder:         BERKSHIREHEMATOLOGYONCOLO
                                                                        Participant SSN:
                                                                        BJK Claim Number: 2826931
         BERKSHIRE           HEMATOLOGY        ONCOL




                                                             -n
         POB 1"8612
         NEWARK, NJ 07191


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                                                                      Admrnrstrators, Inc.
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                  Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 18 of 28




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                                SHEET METAL WORKERS' NATIONAL HEALTH FUND .
                                                    P.O. Box 1449
                                           Goodlettsville, 1N 37070-1449 .
 J.   Claim. No. 282693-3        - Phone (615) 859-0131 Toll-free (800) 831-4914 Check No. 1356950
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 J                                         Explanation of Benefits                      SMW+ PrOQram




             . 04/22/2004   04/2212004     ~6,269.00        $0.00      $506.83         $506.83   .   .$506.83




      Comments:
      PAYMENT ADJUSTMENT         MADE FOR PREVIOU SLY PROCESSED                        CLAIMS.




                                                                Provider.              BERKSHIRE HEMATOLOGY ONCOlO
                                                                ParlicJpant SSN:
                                                                BJK    Claim Number.   2826933
          BERKSHIRE HEMATOLOGY           ONGOL




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          POB 18612
          NEWARK, NJ 07191
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                  Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 19 of 28



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                                  SHEET METAL WORKERS' NATIONAL HEALTH FUND
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                                                    P-.D. Box 1449
                                            Goodlettsville.1N 37070-1449
i    Claim No. 2826934              Phone (615) 859-0131 Toll-free (800) 831-4914                 Che~kNo. 1356951
..
!
                                             Explanation of Benefits                     SMW+ ProQram




                  04i21/2004   04/2112004    $2,410.00        $0.00   -   $169.67     $169.67 .    $169.67




     Comments:
      PAYMENT ADJUSTMENT            MADE FOR PREVIQU SLY PROCESSED                   CLAIMS.




                                                                   Provider.         BERKSHIREHEMATOLOGY
                                                                                                       ONCOlO
                                                                   Participant SSN:
                                                                 . BJK Claim~lJmber: 2826934
           BERKSHIRE HEMATOLOGY ONGOl



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           POB 18612
           NEW f\RK, NJ 07191


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                 Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 20 of 28




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                    PITTSFIELD, MA 01201

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                                  SHEET lVIETAL WORKERS' NATIONAL HEALTH FUND
                                                      P.O. Box 1449        .
                                             Goodlettsville, TN 37070-1-449
     Claim No. 2826935              :Phone (615) 859-0131 Toll-free (800).~.3J4914                         Check No. 1356952
                                             Explanation of Ben~flts~                       SMW+ Program




             Q9/02/2004      09/02/2004         $75.00           $0.00           $8.07        $8.07               $8.07"




     Comments:
     PAYMENT ADJUSTMENT            MADE FOR PREVIOU SLY PROCESSED                          CLAIMS.
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                                                                     Provider:              BERKSHIRE HEMATOLOGY ONCOlO
                                                                     Participant SSN:
                                                                     BJK   Claim Number:    2826935
        BERKSHIRE      HEMATOLOGY          ONCaL
        POB 18612
        NEWARK, NJ 07191


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      d.INSURJ\NCEPlAN NAMEOR PROGIW.l NAt.lE                                                                                                                      SHEET    METAL         WORKERS                                   NAT'L                       j::
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IIE""'·~~~--''''-'                                                   ,f'50.         MAINST, 8TE 1000                                    SPRINGFIELD               MEDICAL          ~                                                 sac                  Ii
       TZEL,                 PAUL M.D.                                   SPRINGFIELD,                           01104-000MA             P.o.        BOX    219                                 _
~IC.# 039373                                  03/04/0                                                                                   WINDSOR,           CT     06095-0000

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         Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 22 of 28




   Date:    3/08/2004
   llme:     4:25PM                                                                                              Page:             1

   SPRINGFIELD MEDICAL ASSOC INC
   PO BOX 219                                                     MEDICARE REMITTANCE NOTICE
   WINDSOR, CT 06095
   Phone: (800) 883-5985                                          Provider/Clinic#:
                                                                                                                   N5t714

   Check No/EFT Trace No:                     127340082
   Date Paid; 2/26/2004


   NAME
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.PERF PROVo SERVICE DATES          POS NOS    PROC     MODS   BILLED    ALLOWED   DEDUCT   COINS     GRPIRC-AMT          PAIDAMT.
N51114      2/0212004 2102/2004    11   011   J9Oll0           627.00     89.76    0.00     17;95       537.24
N51114                                                                                                                    71.81
            2/02/2004 210212004 11      Oil   J9070            88.00      56.43    0.00     11.29        31.57            45.14
N51714      2/0212004· 2102/2004   11   010   Jl100            50.00      1.00     0.00     0.20         49.00
N51714                                                                                                                    0.60
            2/0212004 2/0212004    11   003   J7040            36.00     16.92     0.00     3.36         19.06            13.54
N51714      2/0312004 2/0312004    11   001   J2505           368B.OO   2507.50    0.00    !ID1.50      1180.50          2006.00
N51714      2/0312004 2/0312004    11   001   90782            30.00     26.66     0.00     5.33         3.34            21.33
PTRespon:    539.65                       Claim Total$:       4519.00 . 269627     0.00    539.65      1820.73       2158.62




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                                   Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 23 of 28



       25              HIGHLAND                  AVENUE
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            Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 24 of 28


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                                                                                                              10/04/2004
                                                                                                                  Date Issued



                                                                                      Amount Paid:

                    NEWBURYPORT,   MA 01950

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                               SHEET METAL WORKERS' NATIONAL HEALTH FUND
                                                 P.o. Box 1449
                                         Goodlettsville, TN 37010-] 449
Claim No. 2665060                Phone (615) 859-0131 Toll-free (800) 83]-49]4                          Check No. 1203371
                                          Explanation of Benefits                         SMW+ Program




            08/05/2004     08/05/2004    $7,474.98            $0.00       $876.00         $876.00       $876.00




Comments:




                                                                   Provider:              ANNA JAQUES HOSPITAL
                                                                   Participant SSN:
                                                                   RES   Claim Number:    2665060
    ANNA JAQUES HOSPITAL




                                                          -n
    25 HIGHLAND AVE
    NEWBURYPORT, MA 01950

                                                                  Southern Benefit
                                     . Processed by       l!.&!J Administrators, Illc.



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        Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 25 of 28




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                                                                                                                             Date Issued


                                                                                                       Amount Paid:

                                         MEDWAY, MA 02053

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                                                     SHEET METAL WORKERS' NATIONAL HEALTH FUND
                                                                      P.o. Box 1449
                                                              Goodlettsville, 1N 37070-1449
Claim No. 3093339                                     Phone (615) 859-0131 Toll-free (800) 831-4914                Check No. 1605648
                                                             . Explanation.of           Benefits          SMW+ PrOQram




                           09/19/2005           09/1912005     $6,134.82        $0.00       $531.64'     $531.64   $53].64




Comments:




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       MILFORD REGIONAL MEDICAL CE~
       14 PROSPECT ST
       MILFORD, MA 01757

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                                                            Processed by   l!-.JJ Administrators, Inc.

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                         Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 27 of 28
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                  Case 1:01-cv-12257-PBS Document 4684-4 Filed 09/05/07 Page 28 of 28




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